Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 1 of 9 PagelD# 2

 

IN THE UNITED STATES DISTRICT COURT FOR THE I LL E

 

EASTERN DISTRICT OF VIRGINIA JUL 1 0 2019

 

 

 

 

Alexandria Division GLERK, U.S. DISTR
ALEXANDRIA von

 

     

UNITED STATES OF AMERICA
V. Criminal No, 1:19-mj-315

MICHAEL BERNARD BAGLEY,
Defendant.

)
)
)
)
)
)
)
AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Bryce Oleski, being first duly sworn, hereby affirm and state:
INTRODUCTION

lL. I am a Special Agent of the Federal Bureau of Investigation (“FBI”), and I have
been so employed since 2017. | am assigned to a white collar crime squad at the FBI's Washington
Field Office. During my employment with the FBI, 1 have conducted and/or assisted in criminal
investigations involving money laundering, fraud against financial institutions, private businesses,
and individuals, and investigations involving wire fraud, conspiracy, money laundering, and other
related federal violations of Title 18 of the United States Code. I have training and experience in
the enforcement of the laws of the United States, including the preparation and presentation of
affidavits in support of criminal complaints. I am assigned to the FBI's investigation of MICHAEL
BERNARD BAGLEY (*“BAGLEY”) which concerns his involvement in a scheme to launder
money for the ostensible purpose of concealing proceeds from the sale of illegal drugs, within the

Eastern District of Virginia, and elsewhere.
Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 2 of 9 PagelD# 3

2. This affidavit is being submitted in support of a criminal complaint charging
BAGLEY for his business of laundering funds in violation of Title 18, United States Code, Section
1956. More specifically, as detailed further below, BAGLEY believed the cash he was laundering
was the proceeds of an offense involving the manufacture, importation, and/or distribution of a
controlled substance in violation of Title 21, United States Code, Section 841(a)(1).

3. This affidavit is submitted for the limited purpose of establishing probable cause.
The facts in this affidavit are based on my investigation, personal observations, training, and
experience, as well as information provided to me by third parties. Because this affidavit is limited
in purpose, I am not including all facts known to law enforcement concerning this investigation.

4. This investigation made use of confidential informants, as further described below.
Throughout this affidavit, all confidential informants and sources will be referred to in the
masculine regardless of actual gender.

STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

Background

5. In or around January 2019, the FBI began investigating BAGLEY’s involvement
in a proposed scheme to launder the proceeds of drug trafficking. The FBI utilized CS-1' and CS-
22 to meet with BAGLEY throughout the investigation for the purposes of conducting

consensually recorded meetings. Further, on several occasions, CS-2 personally transferred more

 

! CS-1 volunteered to participate in this investigation in January 2019. CS-1 is not facing any charges. CS-1 has
provided information that law enforcement has been able to verify through other means. His participation and
information have led to the identification of multiple money laundering suspects. Based on the foregoing, | consider
CS-! to be reliable. To my knowledge, CS-1 has previously participated in other law enforcement investigations.

2C§-2 volunteered to participate in this investigation in February 2019. CS-2 is facing charges. CS-2 has provided
information that law enforcement has been able to verify through other means. CS-2’s participation and information
have led to the identification of the money laundering suspect. Based on the foregoing, 1 consider CS-2 to be
reliable. “Femyknawledge, CS-2 is participating in exy-pther law enforcement investigation,

Be
Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 3 of 9 PagelD# 4

than $250,000 in cash to BAGLEY. BAGLEY believed CS-1 and CS-2 worked for a Mexican
drug cartel; however, in realty, these individuals did not work for a drug cartel but were instead
confidential informants for the FBI.

6. BAGLEY is a 51-year-old, white, male who resides in Alexandria, Virginia.
BAGLEY’s LinkedIn page indicated he is the president of “Jellyfish,” which was described as a
private intelligence company in the Washington, D.C., area. BAGLEY’s LinkedIn profile further
described Jellyfish as a “unique economic diplomacy network providing operational support to
clients...” BAGLEY’s LinkedIn profile also referenced the website www.jellyfishpartners.com.

7, On or about, December 19, 2018, Jellyfish Partners LLC was established in
Delaware and was in good standing as of May 2019. On or about February 8, 2019, BAGLEY
established a business bank account at Bank of America in the name Jellyfish Partners LLC,
account ending 7183. BAGLEY is the sole signatory on this bank account.’

8. On or about October 13, 2012, BAGLEY and his spouse established an account at
PNC Bank, account ending 4978. Both BAGLEY and his spouse are signatories on this account.

9. During the consensually monitored and recorded meetings with CS-1 and CS-2,
BAGLEY discussed his ability and willingness to launder what he believed were the proceeds of
drug sales on behalf of a Mexican cartel, In subsequent meetings, BAGLEY accepted cash from
CS8-2, which he laundered through his bank accounts for the purpose of concealing proceeds he
believed to be from the sale of illegal drugs. BAGLEY’s meetings with CS-1 and CS-2 for the

purposes of the scheme to launder money are further described as follows:

 

3 Records reflect BAGLEY also maintains a business bank account at JP Morgan Chase under the name Michael
Bernard Bagley Capital Consulting.

3
Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 4 of 9 PagelD# 5

Meeting One

10. Onor about January 15, 2019, BAGLEY, accompanied by Subjects 1, 2, and 3 met
with CS-1 at the Manchester Grand Hyatt hotel in San Diego, California, to discuss the possibility
of laundering drug proceeds.’ As noted, BAGLEY as well as Subjects 1, 2, and 3, believed CS-1
was a money launderer for a Mexican drug cartel. At the meeting, CS-1 unequivocally informed
BAGLEY that the funds they were discussing were the proceeds of drug sales. During the meeting,
BAGLEY and Subjects 1, 2, and 3 discussed various methods for laundering proceeds from the
sale of drugs.

11. Shortly after the January 15, 2019, meeting, BAGLEY electronically provided CS-
1 with a proposal labeled “Capital Banking Plan,” which described how BAGLEY, Subjects 1, 2,
and 3 proposed to launder $20,000,000 in drug proceeds through a company called Black Knight
Enterprises. BAGLEY’s “Capital Banking Plan” described how Black Knight Enterprises would
accept $20,500,000 in cash and provide CS-1 with an “invoice for software,” as a means of
explaining the transfer of the $20,000,000. The Capital Banking plan BAGLEY provided CS-]
further described that $20,000,000 would be deposited in cash “at Tier 1 lawyer’s IOLTA account”
at Bank of America, with the remaining $500,000 to be used for “program set-up;” however, the
Capital Banking Plan indicated the $500,000 would later be returned to the client upon completion
of all transactions associated with the proposed money laundering platform. After 14 days, the
Capital Banking Plan reflected that the client’s $20,000,000 would be wired “to whatever account
the Client designates (a refund of the purchase).” BAGLEY’s Capital Banking plan contained a
number of attachments, including a proof of funds document in the form of a November 2018 bank

statement from a JP Morgan Chase account purportedly maintained by Black Knight Enterprises,

 

4This meeting was audio recorded. The investigation also obtained the closed circuit television recording of the
lobby area of the hotel, which depicted the individuals who participated in the meeting.

4
Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 5 of 9 PagelD# 6

LLC, which reflected an ostensible balance of $54,684,921. The Capital Banking Plan also
included an Invoice for an “Enfuego Software Package” totaling $20,000,000, a draft lawyer letter
of attestation, corporate documents for Black Knight Enterprises, and a copy of Subject 1’s United
States passport.

Meeting Two

12, Onor about February 7, 2019, BAGLEY met with CS-1 and CS-2 at The Westin
Tysons Corner hotel in Falls Church, Virginia, to further discuss his plan to launder the proceeds
from the sale of drugs.> During this meeting, CS-1 reiterated to BAGLEY that CS-1’s business
with BAGLEY was in regard to “kilos.” CS-2 was introduced to BAGLEY at this meeting as the
local representative of the purported Mexican drug cartel who would transfer cash to BAGLEY as
part of the proposed money laundering scheme.

13. During their meeting, CS-1 explained that rather than provide BAGLEY with
$20,000,000 in cash to launder, as proposed in BAGLEY’s Capital Banking Plan, instead, CS-1
proposed laundering smaller amounts with BAGLEY to start as a way for BAGLEY to prove his
credibility as a money launderer for CS-1’s bosses. CS-1 proposed a test phase in which BAGLEY
would first launder $50,000 in cash and later $100,000 in cash before ramping up to larger
amounts—a plan to which BAGLEY agreed. BAGLEY accepted that he would be paid a 10%
commission for the funds that he laundered. .

14, During the February 7, 2019, meeting at The Westin Tysons Corner hotel,

BAGLEY proposed that he could potentially launder the money through “GoFundMe,” using a ,

 

5 This meeting was recorded in both audio and video formats.

5
Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 6 of 9 PagelD# 7

method called “smurfing.”° BAGLEY also claimed to have a network for “mirroring,” in Mexico
City.’
BAGLEY’S Money Laundering

15. Between on or about April 16, 2019, and on or about June 10, 2019, BAGLEY has
received $251,000 in cash, which he believed were the proceeds from the sale of drugs by a
Mexican cartel. BAGLEY obtained the cash from CS-2 in Alexandria, Virginia, which is within
the Eastern District of Virginia.

16. To date, BAGLEY has deposited cash or transferred funds totaling approximately
$205,000 hee-beontat teed into a bank account that BAGLEY believed was under the control of
the Mexican cartel. As noted, BAGLEY’s compensation for laundering the funds was 10% of the
cash provided to him to launder.

17. BAGLEY has made at least one deposit in furtherance of his scheme to launder
money into a PNC Bank account located at 411 King Street, Alexandria, Virginia, which is located
within the Eastern District of Virginia.

First Money Trausfer to BAGLEY

18. Onor about April 16, 2019, CS-2 met with BAGLEY in Alexandria, Virginia. At
this meeting, BAGLEY accepted $50,000 in cash, which he believed was the proceeds from the
sale of drugs.’ BAGLEY ultimately transferred $45,000 from his Bank of America account ending
7183 in the name Jellyfish Partners LLC to a PNC Bank account that BAGLEY believed was

under the control of.a Mexican cartel.

 

6 “GoFundMe” is a fundraising website where money can be donated to support causes or people. Smurfing is the
ractice of breaking large amounts of money into smaller transactions to remain below financial institution reportin
. . * y a . B
thresholds in an effort to avoid scrutiny from the banking system and government agencies.
7 Mirroring is a method for transferring money between parties outside of the banking system.

* This meeting was recorded in both audio and video format.

6
Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 7 of 9 PagelD# 8

19. PNC Bank also provided your affiant with surveillance photographs of BAGLEY
depositing his $5,000 commission from this transaction in cash into his personal bank account
ending 4978 at the PNC branch located on King Street in Alexandria, Virginia, within the Eastern
District of Virginia, within approximately two hours of BAGLEY accepting the $50,000 cash from
CS-2.

Second Money Trausfer to BAGLEY

20. On or about May 13, 2019, CS-2 met with BAGLEY for a second time in
Alexandria, Virginia, for the purpose of transferring $100,000 in cash to BAGLEY to launder.?
Financial records indicated that over the next approximately 24 days, BAGLEY deposited $90,000
into the purported Mexican cartel-controlled PNC Bank account via a combination of cash
deposits, ACH deposits, and one wire transfer.

Third Money Transfer to BAGLEY

21. On or about June 10, 2019, CS-2 again met with BAGLEY in Alexandria,
Virginia.'° During the meeting, CS-2 gave BAGLEY $101,000 in cash to launder on behalf of his
purported employers with the Mexican drug cartel. As of July 3, 2019, BAGLEY transferred
$70,000 into the supposed drug cartel-controlled PNC Bank account via a combination of cash
deposits, ACH transfers, and wire transfers.

22. Also, during the June 10, 2019, meeting, BAGLEY informed CS-2: “I wanna let
you know that I’m also moving for El Mayo in Mexico City as well, with his number one guy.”
Your affiant believes that BAGLEY was referring to laundering money for Ismael “El Mayo”

Zambada Garcia, who is a suspected leader of the Sinaloa drug cartel.

 

>This meeting was recorded in both audio and video formats.
'0 This meeting was recorded in both audio and video formats.

7
Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 8 of 9 PagelD# 9

23. Between on or about April 16, 2019, and June 10, 2019, BAGLEY received
$251,000 in cash from CS-2, which BAGLEY believed were funds maintained by a Mexican drug
cartel. As of the writing of this affidavit, approximately $205,000 of the cash BAGLEY was given
has been laundered back to the bank account controlled by the purported Mexican cartel. BAGLEY
retained approximately 10% of the cash as compensation for laundering the funds, and the
remaining amount is still in BAGLEY’s possession.

Search Warrant Executed at Bagley’s Residence

24. On July 10, 2019, law enforcement executed a search warrant at BAGLEY’S
residence previously authorized by this Court on July 9, 2019.

25. During the execution of the warrant, BAGLEY admitted to law enforcement that
he laundered what he believed to be proceeds of the Mexican drug cartel. In addition, BAGLEY
signed a written confession in which he stated, in part, that:

“I entered into an agreement with individuals | believed were associated with a Mexican

drug cartel for the purposes of laundering money . . . . Over the course of April 2019 to the

present, I accepted $251,000 from an individual I believed was associated with a Mexican
drug cartel. I deposited these funds into my Bank of America acct and I transferred those
funds into an account at PNC that was provided to me by an ostensible member of the
cartel. I kept approximately 10% of the funds provided to me as my fee. My actions in

these regards were purposeful . . . .”

26. Based on the foregoing, law enforcement conducted a probable cause arrest of

BAGLEY.
Case 1:19-cr-00263-TSE Document 2 Filed 07/10/19 Page 9 of 9 PagelD# 10

CONCLUSIONS OF AFFIANT
27, Based on the information provided in this affidavit, your affiant believes there is
probable cause to believe that within the Eastern District of Virginia, MICHAEL BERNARD
BAGLEY laundered money that he believed was the proceeds from the sale of drugs, in violation
of Title 18, United States Code, Section 1956. I respectfully request that a warrant be issued for

his arrest.

Respectfully submitted,

Bryect ‘eski

Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me on J ul9, 2019
isl ‘Ye-

John F. Anderson

United States Mani

‘Honorable John F. Anderson
United States Magistrate Judge
